                      1:15-cv-01306-HAB # 77               Page 1 of 2                                          E-FILED
Judgment in a Civil Case (02/11)                                                       Monday, 22 May, 2017 02:45:13 PM
                                                                                           Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                              for the
                                                     Central District of Illinois



                                                                   )
          Daniel Clark
                                                                   )
                                                                   )
         Plaintiff

                                    vs.                            )     Case Number: 15-1306
                                                                   )
  Roger Walker Jr; Roberta Fews; Melvin Hinton; Randy Pfister;
  Dr. John Garlic; Sylvia Mahone; William O Elyea; Daidra          )
  Marrone; Scott McCormick; Michael Demisey; Andrea Moss;          )
  William Alley; Todd Nelson; Lina Duckworth; Pamlar Rayburn;      )
  Jineffer Reed; Stephen Lanterman; Wexford Health Services Inc;
  Susan )Prentice; Todd Punke; William Lee; Jacob Liles; Zachary   )
  Smith; Brian Schmeltz; Bradford; Beaupie; D. Brown; Illinois     )
  Department of Corrections; James Berry; Darryl Lewis;            )




         Defendant
                                              JUDGMENT IN A CIVIL CASE

           ☐ JURY VERDICT. This action came before the Court for a trial by jury.                 The issues
         have been tried and the jury has rendered its verdict.


           ☒ DECISION BY THE COURT. This action came to trial or hearing before the Court.
         The issues have been tried or heard and a decision has been rendered.


               IT IS ORDERED AND ADJUDGED that judgment is entered in favor of Melvin Hinton,
         Dr. John Garlic, Andrea Moss, Susan Prentice, Todd Punke, William Lee, Jacob Liles, Zachary
         Smith, Brian Schmeltz, and Darryl Lewis. This case is dismissed with prejudice pursuant to
         Federal Rules of Civil Procedure 41(b).

              IT IS FURTHER ORDERED AND ADJUDGED that Roger Walker Jr, Roberta Fews,
         Randy Pfister, Sylvia Mahone, William O. Elyea, Daidra Marrone, Scott McCormick, Michael
         Demisey, William Alley, Todd Nelson, Lina Duckworth, Pamlar Rayburn, Jineffer Reed, and
         Stephen Lanterman were all dismissed on 10/14/2015 by the filing of an Amended Complaint.

               IT IS FURTHER ORDERED AND ADJUDGED that Wexford Health Services Inc,
         .Bradford, .Beaupie, D Brown and Illinois Department of Corrections were terminated on
         5/10/2016 through the Case Management Order.
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Judgment in a Civil Case (02/11)




         Dated: 5/22/2017


                                                  s/ Kenneth A. Wells
                                                  Kenneth A. Wells
                                                  Clerk, U.S. District Court
